UNDER SEAL

IN THE UNITED STATES DISTRICT COURT FOR THE

 

EASTERN DISTRICT OF VIRGINIA I L E

 

Alexandria Division
FEB | O 20%
UNITED STATES OF AMERICA

 

 

 

CLERK, U.S. DISTRICT COURT
UNDER SEAL ALEXANDRIA, VIRGINIA

Case No. 1:20-mj-577
ANDREA YU ANDRUS,

CARLOS DANIEL FELICIANO,

Defendants.

 

 

AFFIDAVIT IN SUPPORT OF
A CRIMINAL COMPLAINT AND ARREST WARRANTS

I, Dwayne Thompson, being duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

L. I have been a Special Agent with the Federal Bureau of Investigation (“FBI”)
since 2015. Iam currently assigned to a Darknet Opioid Task Force. Prior to my employment
with the FBI, I was a Special Agent with Immigration and Customs Enforcement, Homeland
Security Investigations for approximately five years, and the Internal Revenue Service, Criminal
Investigation Division for over four years.

Z. I have investigated and received training and experience in interviewing and
interrogation techniques, arrest procedures, search and seizure, narcotics investigations, and
various other crimes. In the course of my training and experience, I have become familiar with
the methods and techniques associated with the illegal narcotics distribution and laundering of
criminal proceeds, and the organization of conspiracies. In the course of conducting

investigations, | have been involved in the use of the following investigative techniques:
interviewing informants and cooperating witnesses; conducting physical surveillance; supporting
undercover operations; consensual monitoring and recording of both telephonic and non-
telephonic communications; analyzing financial records; conducting court-authorized electronic
surveillance; and preparing and executing search warrants. I have also led and participated in the
investigation regarding the internet involving narcotics, fraud, and money laundering, in
connection with computers and crypto-currency.

3: The facts in this Affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended
to show that there is sufficient probable cause for the requested warrants and does not set forth
all of my knowledge about this matter. Rather, I make this affidavit in support of an application
for a criminal complaint and arrest warrants for Andrea Yu Andrus (“ANDRUS”) and Carlos
Daniel Feliciano (“FELICIANO”). I submit this affidavit sets for probable cause to believe that
Andrus and Feliciano have conspired to distribute controlled substances, in violation of Title 21,
United States Code, Sections 841(a) and 846.

TECHNICAL BACKGROUND

4. Digital currency (also known as crypto-currency) is generally defined as an
electronic-sourced unit of value that can be used as a substitute for fiat currency (i.e. currency
created and regulated by a government). Digital currency exists entirely on the internet and is
not stored in any physical form. Digital currency is not issued by any government, bank, or
company and is instead generated and controlled through computer software operating on a
decentralized peer-to-peer network. Digital currency is not illegal in the United States and may
be used for legitimate financial transactions. However, digital currency is often used for

conducting illegal transactions, such as the sale of controlled substances.
5. Bitcoin! is a type of digital currency. Bitcoin payments are recorded in a public
ledger that is maintained by peer-to-peer verification and is thus not maintained by a ingie
administrator or entity. Individuals can acquire Bitcoins either by “mining” or by purchasing
Bitcoins from other individuals. An individual can “mine” for Bitcoins by allowing his/her
computing power to verify and record the Bitcoin payments into a public ledger. Individuals are
rewarded for this by being given newly created Bitcoins.

6. An individual can send and receive Bitcoins through peer-to-peer digital
transactions or by using a third-party broker. Such transactions can be done on any type of
computer, including laptop computers and smart phones.

7. Bitcoins can be stored in digital “wallets.” A digital wallet essentially stores the
access code that allows an individual to conduct Bitcoin transactions on the public ledger. To
access Bitcoins on the public ledger, an individual must use a public address (or “public key”)
and a private address (or “private key.”) The public address can be analogized to an account
number while the private key is like the password to access that account.

8. Even though the public addresses of those engaging in Bitcoin transactions are
recorded on the public ledger, the true identities of the individuals or entities behind the public
addresses are not recorded. If, however, a real individual or entity is linked to a public address, it
would be possible to determine what transactions were conducted by that individual or entity.
Bitcoin transactions are, therefore, described as “pseudonymous,” meaning they are partially
anonymous.

9. Through the dark web or darknet, which are websites accessible only through

encrypted means, individuals have established online marketplaces, such as the Silk Road, for

 

' On January 27, 2020, one Bitcoin was equal to approximately $9,101 USD based on Coinbase, a crypto-currency
exchanger.
narcotics and other illegal items. These markets often only accept payment through digital
currencies, such as Bitcoin. Accordingly, a large amount of Bitcoin sales or purchases by an
individual is often an indicator that the individual is involved in narcotics trafficking or the
distribution of other illegal items. Individuals intending to purchase illegal items on Silk Road-
like websites need to purchase or barter for Bitcoins. Further, individuals who have received
Bitcoin as proceeds of illegal sales on Silk Road-like websites need to sell their Bitcoin to
convert them to fiat (government-backed) currency. Such purchases and sales are often
facilitated by peer-to-peer Bitcoin exchangers, who advertise their services on websites designed
to facilitate such transactions.

10. Dark web sites, such as Wall Street, Dream, and Cryptonia operate on “The Onion
Router” or “TOR” network. The TOR network (“TOR”) is a special network of computers on
the Internet, distributed around the world, that is designed to conceal the true Internet Protocol
(“IP’’) addresses of the computers accessing the network, and, thereby, the locations and
identities of the network’s users. TOR likewise enables websites to operate on the network in a
way that conceals the true IP addresses of the computer servers hosting the websites, which are
referred to as “hidden services” on the TOR network. Such “hidden services” operating on TOR
have complex web addresses, which are many times generated by a computer algorithm, ending
in “.onion” and can only be accessed through specific web browser software designed to access

the TOR network.

PROBABLE CAUSE

A. Background of Investigation and Undercover Narcotics Purchases from
THEGOODPLACE on the Wall Street Market and Wickr Messaging Application

Ll. Since April 2019, the FBI, the United States Postal Inspection Service (“USPIS”),

 

Food and Drug Administration (“FDA”) Office of Criminal Investigations (“OCI”), and other law

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enforcement agencies have been investigating ANDRUS and FELCIANO, who operated the
darknet market vendors using the monikers “THEGOODPLACE” and “ARSMEDICA.”

12. THEGOODPLACE was selling and distributing black tar heroin, adderall,
prednisone, and birth control pills on the Wall Street Market. In April 2019, Wall Street Market
ceased to operate as a result of law enforcement actions. However, THEGOODPLACE started
operating under a new moniker, ARSMEDICA, on the Cryptonia Market, which is another darknet
marketplace. ARSMEDICA was selling and distributing black tar heroin, adderall, prednisone,
wellbutrin/buproprion, and other controlled substances. |

13. During the course of this investigation law enforcement have conducted multiple
undercover purchases of crystal methamphetamine, heroin, suboxone, wellbutrin/buproprion,
oxycodone, and adderall from the dark web marketplace vendors, THEGOODPLACE and
ARSMEDICA, which are operated by ANDRUS and FELICIANO. Law enforcement also
observed ANDRUS and FELICIANO place parcels containing narcotics into the United States
Postal Service (“USPS”) mail system, and identified instances where ANDRUS and FELICIANO
conducted financial transactions with the illicit drug proceeds.

14. THEGOODPLACE was selling and distributing black tar heroin, adderall,
prednisone, and birth control pills on the Wall Street Market. Law enforcement reviewed the
vendor’s profile page and it indicated that THEGOODPLACE joined the market on or about
October 2, 2018. On the Wall Street darknet market, THEGOODPLACE advertised the sale of
multiple controlled substances. For example, THEGOODPLACE listed for sale “California Black
Tar Heroin |Fast| Mid-Grade from California.” THEGOODPLACE’s profile had 11 open orders
and 299 closed orders as of April 2019. The profile had a 4.95 star rating out of 5.

THEGOODPLACE’s reviews reflected multiple sales of heroin and adderall. As stated above, the
Wall Street Market ceased operating in Apri! 2019. However, the operators of THEGOODPLACE
continued to sell and distribute controlled substances via a messaging application, Wickr.

15. On or about April 8, 2019, a FBI undercover agent purchased one gram of heroin
from THEGOODPLACE on the Wall Street Market. On or about April 11, 2019, the FBI received
a package in the Eastern District of Virginia, which contained one gram of heroin. The heroin was
subsequently tested at the Drug Enforcement Administration (“DEA”) Mid-Atlantic Laboratory and
the results were positive for heroin.

16. On or about April 22, 2019, a FBI undercover agent received a message from
THEGOODPLACE via the vendor's ordering page to contact the vendor directly via Telegram
(username: thegoodplaceshop), Wickr (username: thegoodplacewsm), or protonmail.com
(tgpwsm@protronmail.com) for future orders. The vendor did not want to conduct transactions on

? “exit scamming,”

the Wall Street Market because the vendor feared that the administrators were
and would not pay their vendors for finalized and future sales.

17. On or about April 24, 2019, a FBI undercover agent contacted
THEGOODPLACE as instructed on the Wickr messaging application and purchased one gram of
heroin. On or about April 29, 2019, the FBI received a package in the Eastern District of Virginia,
which contained one gram of heroin. The suspected heroin is currently at the Drug Enforcement
Agency Mid-Atlantic laboratory for testing.

18. The heroin purchases were shipped to Manassas, Virginia, via USPS Priority Mail
envelopes. Inside of the USPS Priority Mail envelopes were white envelopes that contained Mylar

packaging. Inside of this packaging were small zip-lock bags containing the heroin. The purchase

made on or about April 8, 2019, was shipped from Glendale, California (USPS tracking number

 

2A darknet market exit scam is when an established market stops paying vendors for new and previous sales. The
entity will disappear with the vendors and customers’ money and close down the site.

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ending 351572), and the purchase made on or about April 24, 2019, was shipped from Los Angeles,

California. The return address of the packages included fictitious names and addresses.

 

B. An analysis of Bitcoin Transactions Related to THEGOODPLACE and a Review
of BXSBTC@GMAIL.COM Account Information
19. During the course of the investigation, law enforcement sought shipping records

and financial records associated with THEGOODPLACE, in an attempt to identify the individual or
individuals connected to the vendor described above. From those records, law enforcement was
able to identify ANDRUS as an individual associated with one of the Bitcoin transactions related to
THEGOODPLACE.

20. A Bitcoin tracing analysis was completed using one of the payment addresses
ending w8bX, which was provided by THEGOODPLACE during the undercover law enforcement
purchase on or about April 24,2019. The transaction was traced to a destination address
maintained by LocalBitcoins. LocalBitcoins facilitates the buying and selling of Bitcoin for
currency.

21. Law enforcement obtained records from LocalBitcoins associated with the
aforementioned Bitcoin destination address. Those records revealed that the account was associated
with the username Bangingexes, which was owned by ANDRUS. The records revealed that
ANDRUS created several advertisements on LocalBitcoins in order to exchange cash and other
digital payments for Bitcoin. ANDRUS used platforms such as Paypal, Zelle, Venmo, and
GoogleWallet to conduct these transactions. Buyers are instructed to send funds to ANDRUS, who
would then send the individuals an equivalent amount of Bitcoin. The LocalBitcoins records
showed that ANDRUS received approximately $17,400 in exchange for selling approximately 2.72
Bitcoin from on or about February 22 to July 28, 2019. The Bangingexes’ LocalBitcoins account

was active as of November 22, 2019. Research of records belonging to the Financial Crimes
Enforcement Network (“FinCEN”)’ revealed that ANDRUS was not registered as a Money Service
Business (“MSB”) with FinCEN. ANDRUS listed XXXX Dexter Street, Los Angeles, California
as the home address for the LocalBitcoins account. ANDRUS also listed bxsbtc@gmail.com as her
contact email for the LocalBitcoins account.

ae On or about November 1, 2019, law enforcement obtained a court-authorized
search warrant for the bxsbtc@gmail.com account in the Eastern District of Virginia. Law
enforcement reviewed the contents of the emails, which revealed that on or about May 16, 2019,
Bangingexes asked a customer who was seeking to purchase Bitcoin “You're trying to buy dope
from the darkweb right?” Bangingexes further stated “It's okay if you're trying to buy an 8 ball. 1
like to get down too.” Based on my training and experience, an “8 ball” is referred to 1/8 of an

ounce (approximately 3.5 grams) of powder cocaine.

 

Cc. Research of USPS’ Records and Information regarding IP Address Ending
* 171.135
23. The USPIS researched USPS’ records regarding the USPS Priority Mail parcel

assigned tracking number ending 351572. The tracking number was assigned to the USPS Priority
Mail envelope that was used to ship the heroin purchased by an undercover law enforcement officer
on or about April 8, 2019. The research revealed that an individual assigned the IP address ending
in 171.135 tracked the status of the envelope on or about April 10, 2019, April 12, 2019, and April
16, 2019. Further research of the USPS records revealed that ANDRUS registered a USPS account

on or about April 5, 2017, using the IP address ending 171.135 and listed XXXX '% Dexter Street,

 

3 FinCEN is a bureau of the United States Department of the Treasury that collects and analyzes information about
financial transactions in order to combat domestic and international money laundering, fraud, terrorist financing, and
other financial crimes. Money Service Businesses (“MSB”) (e.g. Convertible Virtual Currencies Exchangers, Check
Cashing Businesses, Western Unions, etc.) have to register with FinCEN. FinCEN retains information for entities
that have registered as MSBs pursuant to the Bank Secrecy Act (BSA) regulations at 31 CFR 1022.380(a)-(f),
administered by the FinCEN.
Los Angeles, California as her home address. The USPS account was logged into by using the IP
address ending 171.135 on or about September 25, 2018. Records were obtained from the internet
Service Provider (“ISP”) Charter Communications for the IP address ending 171.135. The records
revealed that the subscriber of the account was an individual (“Individual 1°’) for the address located
at XXXX Dexter Street, Los Angeles, California. This address was listed on ANDRUS’ California
driver’s license.

24. On or about April 18, 2019, ANDRUS’ account generated a mailing of a USPS
Priority Mail package. The Priority Mail parcel was addressed to “Carlos D Feliciano, XXXX
Coolidge Hwy, Royal Oak, MI 48073-6854.” The sender's name and return address on the parcel
was “Drey Andrus, XXXX Dexter St, Los Angeles, CA 90042.”

25: On or about October 16, 2019, law enforcement conducted surveillance at XXXX
Dexter Street, Los Angeles, California. Law enforcement observed ANDRUS arrive at the
residence in an Uber vehicle. Law enforcement also observed a gold Toyota sedan, California
license plate number ending V706 that was registered to an Individual 1.

26. On or about December 17, 2019, law enforcement interviewed Individual 1.
Individual 1 advised that ANDRUS lived at XXXX % Dexter Street, Los Angeles, California, along
with another individual (“Individual 2”) for a few years, until spring 2019. The internet service was
shared by Individual 1 and Individual 2. Individual 1 observed ANDRUS mail between four to five
United States Postal envelopes a week from the aforementioned address.

ai. On or about December 17, 2019, law enforcement interviewed Individual 2.
Individual 2 advised that he/she rented the property at XXXX 1/2 Dexter Street Los Angeles,
California, for approximately six years. ANDRUS lived with Individual 2 for three years at the

residence and moved out in spring 2019. Individual 2. knew that ANDRUS was buying and selling
items online while at the residence, but was unaware of the specific details regarding those
transactions.

28. Records obtained from LocalBitcoins showed that IP address ending 171.135 was
used to log into ANDRUS’ account from on or about February 23 to June 2, 2019. This same IP
address was also used to track the undercover purchase of one gram of heroin from
THEGOODPLACE on the Wall Street Market on or about April 8, 2019. Records were also
obtained from Coinbase, a cryptocurrency exchanger. Those records revealed that IP address
ending 171.135 was used to log into FELICIANO’s account from September to November 2018.
The records also show that FELICIANO’s Coinbase account was created using the email address
goodplaceshop@protonmail.com on or about September 29, 2018, a few days before
THEGOODPLACE account on the Wall Street Market was created. Coinbase records also revealed

that IP address ending 171.135 was used to log into ANDRUS’ Coinbase account from October

2018 to April 2019.
D. Illegal Narcotics Associated with a Residence located on Dexter Street
29. In March 2018, the FBI arrested an individual that was operating as a darknet

vendor on various darknet markets. The vendor sold and distributed cocaine, methamphetamine,
heroin, crack, and oxycodone on darknet markets. Law enforcement executed a court-authorized
search of the subject’s laptop and it revealed a sales ledger reflecting purchases made by DREY
ANDRUS on or about September 19, 2018, October 4, 2018, and October 8, 2018, for crack and
cocaine. The shipping address in the ledger reflected XXXX 2 Dexter Street, Los Angeles,
California.

30. For several reasons, I submit that evidence establishes that DREY ANDRUS is
ANDRUS. First, ANDRUS listed email address dreyandrus@gmail.com and notdrey@gmail.com

in connection with her LocalBitcoins account. Records obtained from Google, Inc. listed DREY

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ANDRUS as the subscriber for the dreyandrus@gmail.com account and a recovery email account
of dreyandrus@yahoo.com. Records obtained from Oath Holdings, Inc. regarding the
dreyandrus@yahoo.com account revealed that the subscriber was DREY A with a recovery email
account of notdrey@gmail.com.

31, In August 2019, law enforcement attempted to contact THEGOODPLACE on the
messaging applications provided to place another order of heroin but was unsuccessful. Although
the FBI lost communication with THEGOODPLACE, law enforcement believed that
THEGOODPLACE was still operational. Based on my training and experience, vendors often
migrate to a new market and change their moniker to avoid detection by law enforcement and
continue engaging in criminal activity.

E. Undercover Narcotics Purchases from ARSMEDICA on the Cryptonia Market

and Linking ARSMEDICA to THEGOODPLACE
32. ARSMEDICA was selling and distributing black tar heroin, adderall, gabapentin,

prednisone, wellbutrin/buproprion, and other controlled substances on the Cryptonia Market. Law
enforcement reviewed the vendor’s profile page and it indicated that ARSMEDICA joined the
market on or about June 26, 2019. On the Cryptonia Market, ARSMEDICA advertised the sale of
multiple controlled substances. For example, ARSMEDICA listed for sale “Black Tar Heroin ~
Strong~Fast Express/Priority.” According to ARSMEDICA’s vendor page on Cryptonia, the
vendor had 82 sales with a 100% positive rating. The vendor indicated that he/she was previously a
level 10 vendor on Dream and Wall Street Markets with a 4.95 rating out of 5. This was the same
rating as indicated for THEGOODPLACE on the Wall Street Market (paragraph 15).

33. In October 2019, law enforcement conducted a virtual currency analysis of
accounts known to be operated by THEGOODPLACE, which identified transactions with a

destination address maintained by Coinbase. Law enforcement obtained records from Coinbase for

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jriftermations related to the transactions, which identified accounts belonging to ANDRUS and
FELICIANO.

34. On or about October 3, 2019, law enforcement reviewed FELICIANO’s Coinbase
account to include a Bitcoin address ending 1QBD. This Bitcoin address was traced to another
Coinbase account holder. Records were obtained from Coinbase regarding that account holder.
Law enforcement interviewed this individual (“Witness 1”) on October 16, 2019. Witness 1 was
not under arrest and advised that they did not have to answer questions. Witness 1 agreed to be
interviewed. Witness 1 stated that he/she purchased Adderall pills from ARSMEDICA on the
Cryptonia Market and confirmed the payment was made using Bitcoin obtained from his/her
Coinbase account. Witness #1 provided law enforcement with a screenshot of Witness 1’s order
history page, which reflected a purchase of thirteen (13) Adderall pills from ARSMEDICA.

35. On or about October 18, 2019, a FBI undercover agent contacted ARSMEDICA
on the Cryptonia Market and ordered fifteen (15) wellbutrin/bupropion pills. The package was
shipped to the Eastern District of Virginia. On or about October 25, 2019, the FBI received a
package in the Eastern District of Virginia, which contained nineteen (19) pills suspected to be
wellbutrin/bupropion. The suspected wellbutrin/bupropion pills are currently at the FDA laboratory
for testing.

36. On or about October 21, 2019, a FBI undercover agent contacted ARSMEDICA
on the Telegram messaging application listed on ARSMEDICA’s vendor page and purchased one
gram of heroin. On or about October 28, 2019, the FBI received a package in the Eastern District
of Virginia, which contained one gram of suspected heroin. The suspected heroin is currently at the

DEA laboratory for testing.

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37. On or about October 21, 2019, ARSMEDICA offered to sell the undercover FBI
agent oxycodone, cocaine, china white heroin, oxycodone pills pressed with fentanyl, and powder
carfentanyl (a fentanyl analog). ARSMEDICA asked the FBI undercover agent if the oxycodone
pressed with fentanyl was purchased for personal use or resale. The FBI undercover agent replied,
“a little bit of both.” ARSMEDICA stated, “Just be super super careful with them and who you sell
it to.” “They’re strong. And getting caught is much harsher. So make sure no ODs.”

38. On or about October 29, 2019, a FBI undercover agent contacted ARSMEDICA
on the Telegram messaging application and ordered thirty (30) pills of oxycodone pills pressed with
fentanyl. On or about November 2, 2019, ARSMEDICA advised the FBI undercover agent that
he/she was unable to provide the thirty (30) oxycodone pills pressed with fentanyl as promised.
However, ARSMEDICA offered to provide the FBI undercover agent with china white heroin,
pharma-grade oxycodone, adderall, and methamphetamine in lieu of the thirty (30) pills of
oxycodone pressed with fentanyl.

39, On or about November 11, 2019, a FBI undercover agent contacted
ARSMEDICA on the Telegram messaging application and ordered an ounce of methamphetamine.
ASRMEDICA advised the shipment will be split into two shipments for “safety reasons.” Based on
my training and experience, narcotics traffickers split up large drug shipments to lessen the
suspicion of the package being bulky; thus, increasing detection by law enforcement. This method
is also utilized to avoid the entire load being seized by law enforcement; as a result, losing all of the
profits earned from the sale of the illegal narcotics.

40. On or about November 12, 2019, law enforcement received approximately 3.4
grams of suspected methamphetamine, approximately 2.5 grams of suspected china white heroin,

and one pill of suspected suboxone regarding the purchase on or about October 29, 2019. The

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suspected methamphetamine, china white heroin, and suboxone are currently at the DEA laboratory
for testing.

41. On or about November 15, 2019, law enforcement received twelve (12) pills of
suspected pharma-grade oxycodone and thirteen (13) pills of suspected adderall regarding the
purchase on or about October 29, 2019. The suspected oxycodone and adderall pills are currently at
the FDA laboratory for testing.

42. On or about November 18, 2019, law enforcement received approximately 16.1
grams of suspected methamphetamine regarding the purchase on or about November 11, 2019. The
substance field-tested positive for methamphetamine. The suspected methamphetamine is currently
at the DEA laboratory for testing.

43. On or about November 20 and 21, 2019, a FBI undercover agent contacted
ARSMEDICA on the Telegram messaging application and discussed ordering an ounce of
methamphetamine. ASRMEDICA advised the shipment will be split into two shipments.

44, On or about November 25, 2019, USPIS opened a seized mail parcel after
FELICIANO and ANDRUS were seen placing multiple parcels in USPS mailboxes in the Los
Angeles, California, area on or about November 20, 2019. The package was addressed to the FBI
undercover agent and contained 10 grams of suspected methamphetamine. The substance field-
tested positive for methamphetamine. The suspected methamphetamine is currently at the DEA
laboratory for testing.

45. On or about December 8, 2019, law enforcement received spray 16.6
grams of suspected methamphetamine regarding the purchase that was being discussed on or about
November 20 and 21, 2019. The substance field-tested positive for methamphetamine. The

suspected methamphetamine is currently at the DEA laboratory for testing.

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46. The aforementioned drug purchases were shipped to the Eastern District of
Virginia from the Los Angeles and Altadena, California, areas via USPS Priority Mail envelopes.
Inside of the USPS Priority Mail envelopes were additional USPS Priority Mail envelopes that
contained Mylar packaging. Inside of these packaging were clear vacuumed sealed plastic
packaging containing the aforementioned illegal narcotics. The return address of the packages

included fictitious names and addresses.

F. Research of USPS’ Records and Information regarding IP Address Ending 156.247
47. Records obtained from LocalBitcoins revealed that ANDRUS’ LocalBitcoins

account was logged into using IP address ending 156.247 from July 3 through July 27, 2019.
Records obtained from Coinbase revealed that FELICIANO’s Coinbase account was logged into
using IP address ending 156.247 from August 10 through September 28, 2019.

48. USPS records revealed that a USPS Mail parcel bearing tracking number ending
7323 was scheduled to be delivered on or about September 27, 2019, to ANDRUS and
FELICIANO’s residence located at XXX Fischer Street, Apartment B, Glendale, California 91205.
Law enforcement has observed ANDRUS and FELICIANO’s vehicles parked at the residence on
multiple occasions. Law enforcement has also observed ANDRUS and FELICIANO leaving and
arriving at the residence in FELICIANO’s vehicle. During a voluntary interview with law
enforcement, ANDRUS advised law enforcement during an interview that she and FELICIANO
both paid the rent and utilities at the residence. USPS attempted delivery on or about September
30, 2019; however, an authorized recipient was unavailable. USPS records also indicated that
someone using IP address ending 156.247 tracked the package on or about October 12, 2019. On or
about October 12, 2019, ANDRUS, who also had an account with USPS, called the USPS and

requested redelivery of the parcel to XX XX Fischer Street, Apartment B, Glendale, California

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91205. The USPS account used to request the redelivery included an email account
notdrey@gmail.com and a phone of (XXX) XXX -1974.

49. Records were obtained from the ISP Charter Communications for the IP address
ending 156.247. The records revealed that the subscriber of the account was DREY ANDRUS at
' XXX Fischer Street, Glendale, California 91205. The phone number listed on the account was
(XXX) XXX -1974.

50. Records obtained from Google, Inc. revealed that dreyandrus@gmail.com logged
into the account using IP address ending 156.247 on or about July 6, 2019. The subscriber on the
account was DREY ANDRUS listing phone number (XXX) XXX-1974 on the account. The email
account egonfeuer@gmail.com was logged into using IP address ending 156.247 on or about
October 10, 2019. FELICIANO is the listed subscriber for email egonfeuer@gmail.com. The
records also revealed that the notdrey@gmail.com account was logged into using IP address ending
156.247 on or about October 16, 2019. The subscriber on the account was NOT DREY listing
phone number (XXX) XXX-1974 on the account.

51. Based on these facts, I submit that ANDRUS tracked an undercover purchase of ©
narcotics using IP address ending 171.135 and accessed Bitcoin exchange accounts by using IP
addresses ending 171.135 and 156.247. The IP address ending 171.135 IP was used to access email
accounts owned by ANDRUS at ANDRUS’ previous address, XXXX Dexter Street, Los Angeles,
California (linked to another FBI narcotics investigation, paragraph 29). As noted above, records
related to IP address ending 171.135 from Charter Communications revealed that the subscriber of
the account was Individual 1. Individual 1 leased XXXX Dexter Street, Los Angeles, California, to
Individual 2. Individual 2 was ANDRUS’ former boyfriend. ANDRUS lived with Individual 2 for

three years, until the spring of 2019.

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52. The IP addresses ending 156.247 was also used to access email accounts owned
by ANDRUS and FELICIANO at the residence located at XXX Fischer Street, Apartment B,
Glendale, California. As noted above, records related to IP address ending 156.247 from Charter
Communications revealed that the subscriber of the account was DREY ANDRUS. During a
voluntary interview with law enforcement, ANDRUS advised law enforcement that the internet
service located at XXX Fischer Street, Apartment B, Glendale, California, was in her name. In
addition, those IP addresses were used to access ANDRUS’ LocalBitcions and FELICIANO’s
Coinbase accounts, which were used to facilitate the laundering of drug proceeds.

53: Between December 2018 and August 2019, FELICIANO accessed his Coinbase
account using IP address ending 252.19, T-Mobile, and a Virtual Private Network (“VPN”) service.
Records related to the IP address ending 252.19 were obtained from Comcast and it revealed that
the subscriber of the account was FELICIANO. The address that received this service was on
Coolidge Highway, Royal Oak, Michigan. The account was active from January 23, 2018 to June
4, 2019. Law enforcement believe that FELICIANO was living at this address during this time-
frame. Open source research indicated that FELICIANO resided at a residence on Coolidge
Highway, Royal Oak, Michigan. During an interview with ANDRUS, she advised that

FELICIANO moved to the Los Angeles area in June 2019.

G. An Analysis of Bitcoin Transactions Related to ARSMEDICA
54. A virtual currency analysis was completed using payment addresses ending

WKZy and c2nf, which were provided by ARSMEDICA during the purchases of fifteen (15)
wellbutrin/bupropion pills and thirty (30) pills of oxycodone pills pressed with fentanyl on or about
October 18 and October 29, 2019, respectively. A portion of those transactions were traced to

destination addresses maintained by Coinbase.

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55: Law enforcement obtained records from Coinbase regarding the aforementioned
destination addresses. Those records revealed that FELICIANO owned the account. A review of
the account revealed that FELICIANO withdrew approximately $11,538 from January 12 to
October 30, 2019, from his Coinbase account. A USAA bank account was listed on FELICIANO’s
Coinbase account for monetary transaction purposes. Bank records were obtained from USAA in
FELICIANO’s name. Those records show incoming transfers from Coinbase for a portion of the
funds noted above. The bank records also showed debits and credits to the account from ANDRUS

via Zelle and various payments for personal expenditures.
H. Surveillance of ANDRUS and FELICIANO

56. On or about October 24, 2019, at approximately 6:30 a.m., law enforcement
conducted surveillance at the residence of ANDRUS and FELICIANO, which is located on Fischer
Street, Glendale, California.

Si. At approximately 10:00 a.m., law enforcement observed a red Hyundai Veloster,
which is registered to FELICIANO with an unknown white male in the driver’s seat of the vehicle
and ANDRUS on the passenger’s side of the vehicle. The vehicle exited a parking space adjacent
to Fischer Street, Glendale, California. The unknown male was later identified as FELICIANO.
Then, FELICIANO drove to the Eagle Rock Plaza located at 2700 Colorado Blvd, Los Angeles,
California 90041.

58. Moments later, ANDRUS exited the vehicle with a black bag and walked towards
_the entrance of the Eagle Rock Plaza, while FELICIANO remained inside of the vehicle. Law
enforcement observed ANDRUS retrieve several packages out of the black bag and place them into
a USPS mailbox in front of the Eagle Rock Plaza. Then, ANDRUS entered the plaza. Several
minutes later, ANDRUS exited the plaza while carrying the black bag and entered into the vehicle.

Later, the vehicle returned to the same location on Fischer Street, Glendale, California.

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59. Law enforcement maintained constant surveillance of the USPS mailbox until an
Inspector with USPIS arrived and seized the packages for further investigation. One of the
packages was a USPS Priority Mail envelope, which was addressed to an individual located in
Studio City, California. |

60. Law enforcement subsequently made contact with the intended recipient of the
package that was located in Studio City, California. On or about October 29, 2019, this individual
(“Witness #2”) was interviewed by law enforcement in Sherman Oaks, California. Witness #2 was
not in custody and was advised that they did not have to answer questions. Witness #2 gave law .
enforcement consent to search the package addressed to him/her in Studio City, California. The
package contained ten (10) adderall pills. Witness #2 advised that he/she purchased the pills from
ARSMEDICA on the Cryptonia Market.

61. On or about November 20, 2019, at approximately 5:30 a.m., law enforcement
conducted surveillance at the residence on Fischer Street, Glendale, California.

62. At approximately 10:15 a.m., law enforcement observed FELICIANO aid
ANDRUS exit the residence and enter the same Hyundai Veloster. FELICIANO was observed
driving the vehicle and ANDRUS was seated in the front passenger’s seat of the vehicle. Law
enforcement observed the vehicle stop at a USPS mailbox located at 101 N. Verdugo Road,
Glendale, CA 91206. FELICIANO appeared to place a large flat envelope into the mailbox. Then,
the vehicle traveled away from the area.

63. Next, law enforcement observed the vehicle stop at a USPS mailbox located at
120 E Chevy Chase Drive, Glendale, California 91205. FELICIANO appeared to place a large flat

envelope into the mailbox. Then, the vehicle traveled away from the area.

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64. Next, law enforcement observed the vehicle stop at a USPS mailbox located at the
intersection of Windsor Road and Adams Street located in Glendale, California. Law enforcement
observed ANDRUS holding a large envelope as she exited the vehicle. ANDRUS walked towards
a USPS mailbox and placed the envelope inside the mailbox. ANDRUS then re-entered the
vehicle. Then, the vehicle traveled away from the area.

65. Law enforcement maintained constant surveillance of the USPS mailboxes until
an Inspector with USPIS arrived and seized the packages for further investigation. One of the
envelopes was addressed to the aforementioned FBI undercover agent that was communicating with
ARSMEDICA on the Telegram messaging application regarding the undercover purchase that was
being discussed on or about November 20 and 21, 2019.

66. Subsequently, that envelope was opened and it contained approximately ten (10)
grams of suspected methamphetamine. The substance field-tested positive for methamphetamine.

I. Seizure of Servers Associated with the Wall Street Market

67. As noted above, the Wall Street Market was a major darknet marketplace that
allowed vendors to sell a wide variety of contraband, including an array of illegal narcotics,
counterfeit goods, and malicious computer hacking software. In April 2019, law enforcement
seized the servers associated with Wall Street Market, . conjunction with the arrest of the site
administrators. The servers contained detailed records of the site’s users, listings, and
transactions. A review of that information revealed from on or about October 3, 2018 to on or
about April 14, 2019, THEGOODPLACE had approximately 180 completed sales of oxycodone,
heroin, adderall, gabapentin, prednisone, ambien, buproprion/wellbutrin, ritalin, sulfasalazine, .and
hexen (a.k.a N-Ethylhexedrone). Of those completed sales, approximately 95 sales were for
oxycodone and heroin. The approximate weight of the heroin sold was 38.75 grams. The

approximate number of oxycodone pills sold was 918.

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J. Search Warrant Executed at Fischer Street, Glendale, California

68. On or about December 17, 2019, law enforcement executed a court-authorized
search warrant at ANDRUS and FELICIANO’s residence located at Fischer Street, Glendale,
California. During search, law enforcement seized seventeen pink pills that field tested positive for
oxycodone. Law enforcement also photographed prescription bottles containing pills that were
prescribed to FELICIANO. One of the prescriptions was for gabapentin 800mg. This pill was the
same pill and milligram that were sold on THEGOODPLACE and ARSMEDICA. Law
enforcement also photographed prescription bottles containing pills that were prescribed to
ANDRUS. One of the prescriptions was for Adderall 20mg. This is the same pill and milligram
that was sold on THEGOODPLACE and ARSMEDICA.

69. Law enforcement also seized Mylar and clear plastic packaging materials, USPS
Priority Mail envelopes, and a heat sealer. Those items were in plain view. Law enforcement
photographed two used glass smoking pipes‘ and a digital scale. The digital scale and one of pipes
were in plain view. Law enforcement also seized gold labels with a smiley face on it with the
words “Thank you for your order” written on them. This was the same type of gold label and
wording that was on the one gram of heroin that law-enforcement purchased from
THEGOODPLACE on or about April 8, 2019 (paragraph 15).

K. ‘Interview of ANDREA ANDRUS

70. On or about December 17, 2019, law enforcement executed a court-authorized
search warrant at the residence located on Fischer Street, Glendale, California. Law enforcement
asked ANDRUS whether she would agree to an interview. Prior to the commencement of the

interview, law enforcement advised ANDRUS of her Miranda rights. ANDRUS waived her rights

 

4 Based on my training experience, drug users utilize glass pipes to smoke methamphetamine, heroin, crack cocaine,
and marijuana.

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and spoke with law enforcement without the presence of counsel. ANDRUS also signed a waiver
of rights form. |

71. ANDRUS admitted to operating the darknet vendor accounts THEGOODPLACE
on the Wall Street Market and ARSMEDICA on the Cryptonia Market. ANDRUS admitted to
selling and distributing Black Tar Heroin and China White Heroin on the dark web. ANDRUS
admitted that she purchased the illegal drugs sold on the dark web from a supplier in Los Angeles,
California. ANDRUS also admitted that she sold methamphetamine via a Telegram messaging
application to an undercover FBI agent. When law enforcement provided the FBI undercover’s
name used on Telegram to ANDRUS, she responded “I knew something was up with that.”

72. ANDRUS further admitted that she used cryptocurrency exchangers
LocalBitcoins.com and Coinbase to facilitate the sale of illegal drugs on the dark web. ANDRUS .
admitted that the money received from the sale of illegal narcotics on the dark web was sent to
LocalBitcoins.com, Coinbase, and deposited into her bank account.

73. ANDRUS advised law enforcement that she solely operated the monikers,
THEGOODPLACE and ARSMEDICA, on the dark web. She did not answer questions about

FELICIANO.

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CONCLUSION
74. Based on the facts set forth in this affidavit, I submit there is probable cause to
believe that from in and around October 2018 to on or about December 17, 2019, in Fairfax County,
Virginia, within the Eastern District of Virginia and elsewhere, the defendants ANDREA YU
ANDRUS and CARLOS DANIEL FELICIANO conspired to distribute and possessed with the
intent to distribute controlled substances, including, but not ignited to, heroin and

methamphetamine, in violation of Title 21, United States Code, Sections 841(a)(1) and 846.

un

Dwayne Thompson
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me this fe) day of February.

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(The: Hongrable dalatl JAnderson
United States Magistrate Judge

 

 

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